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                                                                                              November 29, 2023

    VIA ECF

    Chief Judge Margo K. Brodie
    United States District Court, Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

    Re: In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                 1:05-MD-01720 (MKB)(JAM)
        David v. Friedman Law Group LLP and Gary Friedman, 1:23-cv-08364 (PKC)(VMS)

    Dear Chief Judge Brodie:
           My firm is counsel for Plaintiff Jonathan David in the above-referenced Jonathan David v.
    Friedman Law Group LLP and Gary Friedman, 1:23-cv-08364-PKC-VMS (the “David Matter”),
    which is pending before Judge Pamela K. Chen. I respectfully submit this application, pursuant to
    Rule 3 of the Rules for the Division of Business for the Eastern District of New York, for a judicial
    determination that the David Matter is related to the above-referenced In re Payment Card
    Interchange Fee and Merchant Discount Antitrust Litigation, 1:05-MD-01720 (MKB)(JAM) (the
    “1720 Matter”) which is pending before Your Honor.

            Under Rule 3(a), “[a] civil case is ‘related’ to another civil case . . . when, because of the
    similarity of facts and legal issues or because the cases arise from the same transactions or events,
    a substantial saving of judicial resources is likely to result from assigning both cases to the same
    District and/or Magistrate Judge.” (Emphasis added.) The David Matter should be reassigned to
    Your Honor because it arises from the 1720 Matter, and reassignment will produce a substantial
    saving of judicial resources.

            The David Matter presents a contractual dispute regarding the allocation of a portion of the
    attorneys’ fees awarded to class counsel in the 1720 Matter. See ECF 30. Thus, the David Matter
    arises from events with which Your Honor is already familiar, and over which Your Honor retains
    ancillary jurisdiction. See, e.g., Grimes v. Chrysler Motors Corp., 565 F.2d 841, 844 (2d Cir.
    1977) (affirming District Court’s exercise of ancillary jurisdiction over a “dispute involv[ing] two
    attorneys, neither of whom was a ‘party’ to the primary litigation,” regarding the distribution of
    funds from a court-approved settlement). Given the special role that courts play in determining
    the fees payable to counsel in class actions (see, e.g., Fed. R. Civ. P. 23(h)), the Complaint in the
    David Matter alleges that Your Honor is the appropriate arbiter of the fees payable to Mr. David.

            Given Your Honor’s familiarity with the 1720 Matter and the attorneys’ fees awarded
    therein, assignment of the David Matter to Your Honor will result in “a substantial saving of
    judicial resources.” Judge Chen has not yet expended any resources considering the merits of the
    parties’ fee dispute. The pre-motion conference in the David Matter that has been scheduled for
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    December 12, 2023 concerns Defendants’ proposed motion to dismiss for lack of subject matter
    jurisdiction, which does not implicate the merits of the parties’ dispute.

          This motion is timely under Rule 3 inasmuch as service was effectuated on Defendant Gary
    Friedman on November 21, 2023 and on Defendant Friedman Law Group LLP on November 24,
    2023.

            On November 28, 2023, Plaintiff’s counsel conferred with Gary Friedman, who has
    appeared in the David Matter as counsel of record for both Defendants, in an effort to reach
    agreement concerning the David Matter’s relatedness to the 1720 Matter. Mr. Friedman advised
    that the Defendants do not consent to reassignment of the David Matter to Your Honor.

                                                        Respectfully submitted,




                                                        James P. Bonner




    CC:    District Judge Pamela K. Chen (via ECF)
           Gary Friedman, Esq. (gfriedman@flgllp.com)
